     Case 4:21-cv-00768 Document 19 Filed on 01/04/22 in TXSD Page 1 of 2




                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                          )
Tyler Thompson,                           )
                                          ) Case No.:
             Plaintiff,                   )
      v.                                  )
                                          ) 4:21-cv-00768
                                          )
 Trump Make America Great Again           )
 Committee (“TMAGAC”), Donald J.          )
 Trump for President, Inc. (“DJTP”), Save )
 America, and the Republican National     )
 Committee (“RNC”),                       )
                                          )
              Defendants.                 )


                               STIPULATION OF DISMISSAL

       Plaintiff, Tyler Thompson, by and through his undersigned counsel and Defendants Trump

Make America Great Again Committee, Donald J. Trump for President, Inc., Save America, and the

Republican National Committee, by and through their counsel, hereby stipulate to dismiss this case

WITH PREJUDICE pursuant to Fed. R. Civ. P. 41(a) with each side bearing its own fees and costs.

       IT IS SO STIPULATED:



                                                    /s/ Jacob U. Ginsburg
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                                                    /s/ Jacob Bach
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     Case 4:21-cv-00768 Document 19 Filed on 01/04/22 in TXSD Page 2 of 2




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                                                      Attorney for Defendant

DATED: January 4, 2022
                                        Certificate of Service

       I certify that on January 4, 2022, I filed a copy of the foregoing document and its attachment

with the Clerk of Court using the Court’s CM/ECF system, which will generate notice of the filing

and service on the following counsel:

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